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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                             CASE NO:
  JONATHAN CONDE, individually,
  and on behalf of all others
  similarly situated,

         Plaintiffs,

  vs.

  CDJ OF 152ND ST MIAMI LLC
  d/b/a CRAB DU JOUR,

        Defendant.
  ___________________________________/

               CLASS/COLLECTIVE ACTION COMPLAINT FOR DAMAGES
                         AND DEMAND FOR JURY TRIAL

         Plaintiff, JONATHAN CONDE (“Plaintiff”), on behalf of himself and all others similarly

  situated, and pursuant to 29 U.S.C. § 216(b), Fla. Stat. § 448.110, Fed. R. Civ. P. 23, and Art. X,

  Sec. 24 of the Florida Constitution, files this Class/Collective Action Complaint for Damages and

  Demand for Jury Trial against Defendant, CDJ OF 152ND ST MIAMI LLC D/B/A CRAB DU

  JOUR (“Defendant”), for its failure to pay servers proper federal and Florida minimum wages, as

  follows:

                                         INTRODUCTION

         1.      Workers are entitled to a minimum wage that provides a fulfilling life, protects

  employees from unfair wage competition, and does not force them to rely upon taxpayer-funded

  public services to avoid economic hardship. See Fla. Const. Art X §24(a). Since 2004, the Florida

  legislature has mandated that all covered employers shall pay employees wages no less than the

  minimum wage for all hours worked throughout the State of Florida. See Fla. Const. Art. X §24(c).
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  Although restaurant employers are permitted to take a tip credit toward the applicable Florida

  minimum wage for customarily tipped employees, e.g. servers, the employer is nevertheless

  required to comply with strict requirements concerning the payment of a reduced wage. This class

  action lawsuit seeks to cure Defendant’s minimum wage violations on behalf of all servers who

  worked for Defendant at Crab Du Jour in Miami, Florida, within the past five (5) years. Defendant

  committed federal and state minimum wage violations because it (1) failed to provide servers with

  federal and state mandated notice of tip credit requirements; (2) claimed a tip credit for all hours

  that its servers worked, including workweeks wherein the total amount of time that servers spent

  performing non-tipped duties and side work was at or in excess of 20% of all of the total work

  performed; (3) claimed a tip credit during shifts when servers were required to spend more than

  30 continuous minutes on side work and other non-tipped duties; (4) failed to adequately

  compensate servers by forcing them to cover costs primarily for the benefit or convenience of

  Defendant; and (5) required servers to share their tips with the restaurant, and supervisors and/or

  managers at the restaurant. As a result, Plaintiff and all similarly situated servers have been denied

  federal and Florida minimum wages during various workweeks within the relevant time period.

  Plaintiff seeks to stop Defendant from engaging in this unlawful conduct and to vindicate his rights

  along with the rights of all similarly situated servers who were employed by Defendant within the

  past 5 years.

                                               PARTIES

         2.       During all times material hereto, Plaintiff was a resident of Miami-Dade County,

  Florida, over the age of 18 years, and otherwise sui juris.




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         3.      Plaintiff and the FLSA Putative Collective Members are/were restaurant servers

  who worked for Defendant within the last three (3) years at its restaurant located at 3201 N. Miami

  Ave., Unit 106, Miami, FL 33127.

         4.      Plaintiff and the FMWA Putative Class Members are/were restaurant servers who

  worked for Defendant within the last five (5) years at its restaurant located at 3201 N. Miami Ave.,

  Unit 106, Miami, FL 33127.

         5.      In April 2022, Defendant hired Plaintiff, Jonathan Conde, to work as a server.

         6.      On or about January 19, 2023, Defendant unlawfully terminated Plaintiff in

  retaliation for objecting to Defendant’s unlawful retention of a portion of the tips earned by

  Plaintiff and other servers.

         7.      The proposed Collective and Class Members worked for Defendant in the same

  capacity as Plaintiff in that they were non-exempt, tipped servers for Defendant at the same

  restaurant located at 3201 N. Miami Ave., Unit 106, Miami, FL 33127, within the past five (5)

  years preceding this lawsuit.

         8.      Plaintiff seeks certification of four (4) separate collectives under 29 U.S.C. § 216(b)

  for violations of the FLSA as follows:

                 Tip Notice Collective: All servers who worked for Defendant at
                 Crab Du Jour in Miami, Florida during the three (3) years
                 preceding this lawsuit who did not receive proper notice from
                 Defendant that they would be taking a tip credit toward the
                 required federal minimum wage.

                 80/20 Collective: All servers who worked for Defendant at Crab
                 Du Jour in Miami, Florida during the three (3) years preceding
                 this lawsuit, who were required to spend more than 20% of their
                 shifts performing “non-tipped” incidental duties and did not
                 receive the full applicable federal minimum wage.




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                Substantial Side Work Collective: All servers who worked for
                Defendant at Crab Du Jour in Miami, Florida during the three
                (3) years preceding this lawsuit, who were required to spend
                more than thirty (30) continuous minutes on non-tipped duties
                and side work during any shift.

                Unlawful Tip Share Collective: All servers who worked for
                Defendant at Crab Du Jour in Miami, Florida during the three
                (3) years preceding this lawsuit, who were required to surrender
                their tips to the restaurant as well as ineligible employees,
                including but not limited to supervisors and/or managers.

         9.     Plaintiff seeks certification of five (5) separate classes under Fed. R. Civ. P. 23, the

  FMWA, and Florida Constitution for Florida Minimum Wage violations, as follows:

                Tip Notice Class: All servers who worked for Defendant at Crab
                Du Jour in Miami, Florida during the five (5) years preceding
                this lawsuit, who were not provided the appropriate tip credit
                notice pursuant to Fla. Const. Art. X 24(c) and/or F.S. § 448.110.

                80/20 Class: All servers who worked for Defendant at Crab Du
                Jour in Miami, Florida during the five (5) years preceding this
                lawsuit, who were required to spend more than 20% of their
                shifts performing “non-tipped” incidental duties and did not
                receive the full applicable Florida Minimum Wage for this time
                pursuant to Fla. Const. Art. X 24(c) and/or F.S. § 448.110.

                Substantial Side Work Class: All servers who worked for
                Defendant at Crab Du Jour in Miami, Florida during the five
                (5) years preceding this lawsuit who were required to spend
                more than thirty (30) continuous minutes on non-tipped duties
                and side work during any shift.

                Unlawful Tip Share Class: All servers who worked for
                Defendant at Crab Du Jour in Miami, Florida during the five
                (5) years preceding this lawsuit, who were required to share
                their tips with the restaurant and/or ineligible employees,
                including but not limited to supervisors and/or managers.

                Unlawful Kick-Back Class: All servers who worked for
                Defendant at Crab Du Jour in Miami, Florida during the five
                (5) years preceding this lawsuit, who were required to surrender
                their tips to the restaurant, supervisors and/or managers. to
                cover and reimburse Defendant for costs associated with walk-
                outs, breakages, and/or cash register shortages.



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         10.     The precise size and identity of the class should be ascertainable from the business

  records, tax records, and/or employee or personnel records of Defendant; however, Plaintiff

  estimates that the total number of class members for each proposed class exceeds 40 servers.

         11.     During all times material hereto, Defendant owned, operated, and controlled the

  restaurant located at 12075 S.W. 152nd St., Miami, FL 33177.

         12.     Defendant was the “employer” of Plaintiff and all members of the Putative Classes

  and Collectives as that term is defined by the FLSA and FMWA, during all times pertinent to the

  allegations herein. 29 U.S.C. § 203(d); Fla. Stat. § 448.101(3).

         13.     Plaintiff and all members of the putative Classes and Collectives were “employees”

  of Defendant as that term is defined by the FLSA and FMWA, during all times pertinent to the

  allegations herein. Fla. Stat. § 448.110(2).

         14.     During all times material hereto, Defendant was vested with control and decision-

  making authority over the hiring, firing, scheduling, day-to-day operations, and pay practices of

  the restaurant located at 12075 S.W. 152nd St., Miami, FL 33177.

         15.     Defendant implemented uniform pay, tip, and time-keeping practices that apply to

  all restaurant servers at its restaurant located at 12075 S.W. 152nd St., Miami, FL 33177.

         16.     Plaintiff and putative collective and class members are/were non-exempt, hourly

  restaurant servers.

                                     JURISDICTION & VENUE

         17.     This action is brought under 29 U.S.C. § 216(b), Fed. R. Civ. P. 23, the Florida

  Minimum Wage Act (“FMWA”) and Article X Section 24 of the Florida Constitution to recover

  damages from Defendant, injunctive relief, and reasonable attorney’s fees and costs.




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         18.     This Honorable Court has supplemental jurisdiction over Plaintiff’s state law

  claims under 28 U.S.C. § 1367.

         19.     The acts and/or omissions giving rise to this dispute took place within Miami-Dade

  County, Florida, which falls within the jurisdiction of this Honorable Court.

         20.     Defendant regularly transact business in Miami-Dade County, Florida, and

  jurisdiction is therefore proper.

         21.     Plaintiff fulfilled all conditions precedent required to brings this class action claim

  under the FMWA. Fla. Stat. § 448.110(6)(a).

         22.     On February 3, 2023, Plaintiff, JONATHAN CONDE, through his counsel, served

  Defendant with a written pre-suit demand and notice regarding her FMWA claims, requesting that

  Defendant pay him and the putative FMWA classes the minimum wages owed to them. As of the

  date of this filing, over fifteen (15) days have passed since Defendant received Plaintiff’s pre-suit

  demand notice, and Defendant has not paid any wages to Plaintiff or the FMWA classes.

                                          FLSA COVERAGE

         23.     Defendant, CRAB DU JOUR, is an enterprise covered by the Fair Labor Standards

  Act (“FLSA”), Florida Constitution, and F.S. 448, by virtue of the fact that it is an enterprise

  engaged in commerce or in the production of goods for commerce. Defendant, CRAB DU JOUR,

  had at least two (2) employees engaged in commerce or in the production of goods for commerce,

  or employees handling, selling, or otherwise working goods or materials that have been moved in

  or produced for commerce by any person.

         24.     Defendant, CRAB DU JOUR’s employees handled goods such as napkins,

  silverware, appliances, liquor, beer, crab, shrimp, potatoes, calamari, bread, salmon, onions,

  peppers, oil, broccoli, cheese, peas, jalapenos, credit cards, debit cards, restaurant equipment, pens,




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  chairs, tables, vacuum cleaners, steaks, other seafood, napkins, silverware, televisions, remote

  controls, chicken, menus, and other materials that had previously travelled through commerce.

            25.   At all material times (during the last five years), Defendant, CRAB DU JOUR, had

  an annual gross revenue in excess of $500,000.00 in, 2018, 2019, 2020, 2021, 2022, and is

  expected to gross in excess of $500,000.00 in 2023.

                             GENERAL FACTUAL ALLEGATIONS

            26.   Defendant is in the business of providing food and drink to the general public.

            27.   Defendant employed Plaintiff and the Class and Collective Members as servers at

  Crab Du Jour within the past five (5) years.

            28.   Plaintiff and Class and Collective Members were non-exempt, hourly-rate

  employees of Defendant.

            29.   Plaintiff and Class and Collective Members’ job duties consisted of serving patrons

  and customers in designated areas which required little to no special or advanced skill.

            30.   The work performed by Plaintiff and Class and Collective Members was an integral

  part of the business for Defendant.

            31.   Defendant controlled and/or remained responsible for the work of Plaintiff and the

  Class and Collective Members, and otherwise met the factors of the “economic realities test,” for

  the Parties to fall within the definition of employer and employee under federal and Florida law.

            32.   Defendant had the power to hire and fire Plaintiff and the Class and Collective

  Members.

            33.   Defendant controlled Plaintiff and Class and Collective Members’ work schedules.

            34.   Defendant scheduled Plaintiff and other Class and Collective Members to certain

  shifts.




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          35.     Defendant required Plaintiff and other Class and Collective Members to work a

  certain number of days during the week.

          36.     Defendant required Plaintiff and other Class and Collective Members to work on

  specific days of the week.

    DEFENDANT FAILED TO PROVIDE SUFFICIENT NOTICE OF THE TIP CREDIT

          37.     Although employers are permitted to take a tip credit and/or retain a tip credit for

  each hour that an eligible, tip-producing employee works, employers are prohibited from taking a

  tip credit when they fail to provide either oral or written notice regarding the provisions of §

  203(m)(2)(A) of the FLSA. See C.F.R. § 531.59; Art. 10 § 24(c), Fla. Const.

          38.     During all times material hereto, Defendant claimed a tip credit under federal and

  Florida law for all hours worked by Plaintiff and all hours worked by all other servers.

          39.     Defendant paid Plaintiff and all other similarly situated servers the reduced Florida

  minimum wage for tipped employees.

          40.     Upon information and belief, when Defendant hires servers, it fails to provide to

  them the legally requisite notice that it is claiming a tip credit under Florida and federal law for all

  hours that these servers work. See id.

          41.     During Plaintiff, Jonathan Conde’s, employment period, Defendant did not provide

  to him any notice that it was claiming a tip credit for each hour that Conde worked, much less the

  statutorily required notice under federal and/or Florida law.

          42.     Therefore, Plaintiff and all other similarly situated servers were not adequately

  informed of the tip credit claimed by Defendant throughout their employment.

          43.     Thus, Defendant was not entitled to claim a tip credit under federal and Florida law.




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    DEFENDANT REQUIRES PLAINTIFF AND OTHER SERVERS TO SPEND MORE
    THAN 20% OF THE WORKWEEK ON NON-TIPPED DUTIES AND SIDE WORK

         44.     Federal law prohibits employers from taking a tip credit when an employee

  performs non-tip generating duties for more than 20% of their workweek. Rafferty v. Denny’s

  Inc., 13 F4th 1166, 1188 (11th Cir. 2021). In other words, when restaurant servers spend 20% or

  more of any respective workweek on non-tip generating duties and side work, they must be paid

  the full minimum wage, as opposed to the reduced minimum wage for tipped employees. Id.

         45.     Upon information and belief, Defendant failed to keep track of the time that

  Plaintiff and all other servers spent performing side-work and duties only incidentally related to

  their primary tip-producing work duties.

         46.     Because Defendant failed to track the time that Plaintiff and all other servers spent

  performing side-work and non-tipped duties, Plaintiff and all other servers were compensated at a

  reduced minimum wage for all time spent performing non-tipped duties and side-work.

         47.     Defendant, through its agents including its supervisors and/or managers, directed

  Plaintiff and all other servers to perform non-tipped duties and side-work at the opening of their

  shifts for one (1) hour at a minimum.

         48.     Defendant through its agents including its supervisors and/or managers, directed

  Plaintiff and all other servers to perform non-tipped duties and side-work at the closing of their

  shifts for one (1) hour at a minimum.

         49.     Specifically, Defendant, through its agents, including its supervisors and/or

  managers, directed Plaintiff to sweep, close-down their serving sections, set-up their serving

  sections, fill sauce caddies, roll silverware, clean the coffee station, restock to-go cups and to-go

  utensils, throw boxes out, refill salt and pepper containers, and set up tables.




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             50.   Further, Defendant, through its agents including its supervisors and/or managers,

   directed Plaintiff and all other servers to perform the aforementioned non-tipped duties and side-

   work when the restaurant was closed to the public.

             51.   When the restaurant is closed to the public, Plaintiff and all other servers were

   unable to perform any tip-producing work.

             52.   Plaintiff and all other similarly situated servers are entitled to receive the full

   Florida minimum wage for hours spent each shift performing “non-tipped” incidental duties, as

   opposed to the “reduced wage” they received when performing these incidental duties.

      DEFEENDANT REQUIRES PLAINTIFF AND ALL OTHER SERVERS TO SPEND
      MORE THAN 30 CONTINUOUS MINUTES ON NON-TIPPED DUTIES AND SIDE
                        WORK DURING EACH SHIFT

             53.   Side work which takes more than 30 continuous minutes is not considered “part of

   the tipped occupation.” See 29 C.F.R. § 531.56(f)(4)(ii).

             54.   Accordingly, employers are forbidden from taking a tip credit when they compel

   tipped employees to spend more than 30 continuous minutes on non-tipped duties and side work.

   See id.

             55.   During all times material hereto, Defendant directed and required Plaintiff and all

   other similarly situated servers to perform non-tipped duties and side-work at the opening of each

   of their shifts, including when the restaurant was not yet open to the public and did not have any

   customers present.

             56.   During all times material hereto, Defendant directed and required Plaintiff and all

   similarly situated servers to perform non-tipped duties and side-work at the closing of each of their

   shifts, including when the restaurant was closed to the public and did not have any customers

   present.




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          57.     During all times material hereto, Defendant directed and required Plaintiff and all

   other similarly situated servers to perform non-tipped duties and side-work for one (1) hour at a

   minimum at both the opening and closing of their shifts.

          58.     Defendant did not keep track of the time that Plaintiff and all other similarly

   situated servers spent performing non-tipped duties and side-work.

          59.     Further, Defendant paid Plaintiff and all other similarly situated servers the reduced

   Florida minimum wage for all of the time spent performing non-tipped duties and side-work.

          60.     Plaintiff and all other similarly situated servers are entitled to receive the full

   Florida minimum wage for hours spent each shift performing “non-tipped” incidental duties, as

   opposed to the “reduced wage” they received when performing these incidental duties.

   DEFENDANT DID NOT REIMBURSE SERVERS FOR EXPENSES INCURRED FROM
                   ITS UNLAWFUL “KICKBACK” POLICY

          61.     Under 29 U.S.C. § 203(m)(2)(B), an employer’s retention of tips received by its

   employees is prohibited.

          62.     Upon information and belief, Defendant implemented and enforced a restaurant-

   wide policy that required Plaintiff and all other similarly situated servers to use tips that they

   received directly from customers to provide unlawful “kickbacks” to Defendant by covering costs

   associated with walk-outs, breakages, and/or cash register shortages.

          63.     Specifically, Defendant required and directed Plaintiff and all other similarly

   situated servers to use tips that they received at work to cover expenses incurred by Defendant

   from “dine and dash” or walk-out customers who left the Defendant’s restaurant without paying.

          64.     The total expenses incurred by Plaintiff and all other similarly situated servers for

   the benefit of Defendant as a result of having to pay out of their own pockets for costs associated




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   with walk-outs, breakages, and/or cash register shortages caused their weekly wages to fall below

   the minimum wage standard.

          65.      Accordingly, Defendant failed to pay servers in accordance with Florida minimum

   wage laws for training periods during all times material hereto.

                                       CLASS ALLEGATIONS

          66.      Class members are treated equally and similarly by Defendant, in that they were

   commonly mistreated by Defendant as they were not paid full and proper Florida minimum wages

   for all hours worked.

          67.      On information and belief, Defendant employed in excess of 40 class members who

   were not paid Florida’s minimum wage for certain hours worked within the past five (5) years.

          68.      Defendant failed to pay Plaintiff and class members at least the reduced wage for

   each hour they worked and failed to pay Plaintiff and class members the full Florida minimum

   wage for other hours worked.

          69.      Plaintiff and class members worked at the same restaurant location in Miami,

   Florida.

          70.      Plaintiff and class members performed the same job duties as servers and were paid

   in an identical manner by Defendant based on Defendant treating the servers as tipped employees

   but not compensating them in accordance with Florida law.

          71.      Plaintiff and class members were not paid proper Florida minimum wages for all

   hours worked.

          72.      Plaintiff and class members were not paid the proper reduced wage for tipped

   employees for all hours worked.




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            73.   Defendant failed to keep accurate time and pay records for Plaintiff and all class

   members.

            74.   Defendant were aware of the requirements of Fla. Const. Art. X, §24 yet acted

   willfully in failing to pay Plaintiff and the Class Members in accordance with the law.

            75.   Plaintiff has hired the undersigned law firm to represent him in this matter and is

   obligated to pay reasonable attorney’s fees and costs if he prevails.

            76.   The claims alleged under the Florida Constitution may be pursued by all similarly

   situated persons pursuant to Fed. R. Civ. P. 23.

            77.   The number of individuals in the class is so numerous that joinder of all members

   is impracticable. The exact number of members of each class can be determined by reviewing

   Defendant’s records. Plaintiff, on information and belief, is aware that there are numerous eligible

   individuals in the defined class and estimates the class size to be in excess of 40 servers.

            78.   Plaintiff will fairly and adequately protect the interests of the class and has retained

   counsel which is experienced and competent in class action employment litigation.

            79.   Plaintiff has no interests that are contrary to or in conflict with the members of the

   class.

            80.   A class action lawsuit, such as this one, is superior to other available means for fair

   and efficient adjudication of the issues alleged herein. The damages suffered by individual

   members of the class may be relatively small when compared to the expense and burden of

   litigation, making it virtually impossible for members of the class to individually seek redress for

   the wrongs done to them.

            81.   A class action is, therefore, superior to other available methods for the fair and

   efficient adjudication of the controversy. Absent these actions, many members of the class likely




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   will not obtain redress of their damages and Defendant will retain the proceeds of their violations

   of the Florida Constitution.

          82.      Even if every member of the class could afford individual litigation against

   Defendant, it would be unduly burdensome to the judicial system. Concentrating the litigation in

   one forum will promote judicial economy, efficiency, and parity among the claims of individual

   members of the class and provide for judicial consistency.

          83.      There is a well-defined community of interest in the questions of law and fact

   affecting the class as a whole. The questions of law and fact common to the class predominate

   over any questions affecting solely the individual members. Among the common questions of law

   and fact are:

          a.       Whether Defendant employed servers within meaning of the law;

          b.       Whether Defendant uniformly, willfully, and wrongfully failed to pay servers the

   Florida minimum wage for all hours worked;

          c.       What remedies are appropriate compensation for the damages caused to Plaintiff

   and each member of the class; and

          d.       Whether Defendant’ failure to compensate Plaintiff and the class members at the

   applicable Florida minimum wage was willful, intentional, or done with reckless disregard.

          84.      The relief sought is common to the entire class including:

          a.       Payment by Defendant of actual damages caused by their failure to pay minimum

   wages pursuant to the Florida Constitution;

          b.       Payment by Defendant of liquidated damages caused by their failure to pay

   minimum wages pursuant to the Florida Constitution; and




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             c.      Payment by Defendant of the costs and expenses of this action, including attorney’s

   fees to Plaintiff’s counsel.

             85.     Plaintiff’s claims are typical of the claims of members of the class.

             86.     Plaintiff and the Class Members have sustained damages arising out of the same

   wrongful and uniform employment policies of Defendant in violation of the Florida Constitution.

             87.     Plaintiff knows of no difficulty that will be encountered in the management of this

   litigation that would preclude its continued maintenance as a class action.

             88.     As a result of Defendant’s intentional and willful failure to comply with the FLSA

   and the FMWA, Plaintiff was required to retain the undersigned counsel and is therefore entitled

   to recover reasonable attorney’s fees and costs incurred in the prosecution of these claims.

   COUNT I – FED. R. CIV. P. 23 CLASS ACTION FOR FLORIDA MINIMUM WAGE VIOLATIONS
                                     (TIP NOTICE CLASS)

             89.     Plaintiff hereby re-alleges and re-avers Paragraphs 1 through 88 as though set forth

   fully herein.

             90.     Defendant violated the terms of F.S. § 448.110 and the Florida Constitution’s

   minimum wage requirements by taking a tip credit toward the applicable Florida minimum wage

   but failing to provide Plaintiff and putative Tip Notice Class Members the statutorily required tip

   notice.

             91.     Defendant therefore forfeits any tip credit under Florida law and owe each server

   at least $3.02 for each hour of work they performed during the five (5) years preceding this lawsuit.

             92.     More than 15 days have elapsed since Plaintiff, Jonathan Conde, served Defendant

   with his written pre-suit Notice and Defendant have failed to tender full payment to Conde and the

   putative Class.

             93.     In 2017, the Florida Minimum Wage was $8.10 per hour.



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          94.     In 2018, the Florida Minimum Wage was $8.25 per hour.

          95.     In 2019, the Florida Minimum Wage was $8.46 per hour.

          96.     In 2020, the Florida Minimum Wage was $8.56 per hour.

          97.     From January 1, 2021, through September 29, 2021, the Florida Minimum Wage

   was $8.65 per hour.

          98.     From September 30, 2021, through the September 29, 2022, the Florida Minimum

   Wage was $10.00 per hour.

          99.     From September 30, 2022, through the present the Florida Minimum Wage is/was

   $11.00 per hour.

          100.    Plaintiff and the proposed Tip Notice Class Members were subjected to similar

   violations of the FMWA and Florida Constitution.

          101.    Plaintiff seeks class certification under Fed. R. Civ. P. 23 of the following class for

   Defendant’s failure to pay Florida minimum wages in accordance with the Florida Constitution:

                  All servers who worked for Defendant at Crab Du Jour in
                  Miami, Florida, during the five (5) years preceding this lawsuit,
                  who were not provided the appropriate tip credit notice
                  pursuant to Fla. Const. Art. X 24(c) and/or F.S. § 448.110.

                                  RULE 23 CLASS ALLEGATIONS

          102.    Plaintiff brings this FMWA claim as a class action pursuant to Rule 23 of the

   Federal Rules of Civil Procedure on behalf of the above class (the “Tip Notice Class”).

          103.    The putative Tip Notice Class members are treated equally and similarly by

   Defendant, in that they were denied full and proper Florida minimum wages based on Defendant’s

   failure to provide Plaintiff and similarly situated servers proper notice of Defendant’s intent to rely

   upon a tip credit under Florida law.




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           104.   Numerosity: Defendant employed at least fifty (50) servers in the class during the

   past five (5) years who were not provided the required tip notice; nevertheless, Defendant claimed

   a tip credit for these employees. Given Defendant’s size and the systematic nature of its failure to

   comply with Florida law, the members of the Class are so numerous that joinder of all members is

   impractical.

           105.   Plaintiff and the Putative Class Members were subject to the same employment

   policies.

           106.   Commonality: Common questions of law and fact exist as to all members of the

   Class and predominate over any questions solely affecting any individual member of the Class,

   including Plaintiff. Such questions common to the Class include, but are not limited to the

   following: (a) Whether Plaintiff and the Tip Credit Class were “employees” of Defendant; (b)

   Whether Plaintiff and the Tip Credit Class’s hours were properly recorded; (c) Whether Defendant

   violated the Florida minimum wage rights of Plaintiff and the Tip Notice Class under the FMWA

   by failing to provide sufficient notice of taking a tip credit; (d) Whether Defendant willfully or

   intentionally refused to pay Plaintiff and the Tip Notice Class the Florida minimum wages as

   required under Florida law; (e) Whether Defendant knew or should have known of the Florida

   minimum wage requirements and either intentionally avoided or recklessly failed to investigate

   proper payroll practices; and (f) The nature, extent, and measure of damages suffered by Plaintiff

   and the Tip Notice Class based upon Defendant’s conduct.

           107.   Typicality: Plaintiff’s claims are typical of the claims of the members of the Tip

   Notice Class. Plaintiff’s claims arise from Defendant’s company-wide policy of paying all servers

   a reduced wage without providing statutorily required notice of taking a tip credit.




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          108.    Adequacy: Plaintiff will fairly and adequately protect the interests of the Tip Notice

   Class. Plaintiff has no interest that might conflict with the interests of the Tip Notice Class.

   Plaintiff are interested in pursuing their claims against Defendant vigorously and have retained

   counsel competent and experienced in class and complex litigation.

          109.    Class action treatment is superior to the alternatives for the fair and efficient

   adjudication of the controversy alleged herein. Such treatment will permit a large number of

   similarly situated persons to prosecute their common claims in a single forum simultaneously,

   efficiently, and without the duplication of effort and expense that numerous individual actions

   would entail. No difficulties are likely to be encountered in the management of this class action

   that would preclude its maintenance as a class action, and no superior alternative exists for the fair

   and efficient adjudication of this controversy.

          110.    Defendant have acted on grounds generally applicable to the Tip Notice Class,

   thereby making relief appropriate with respect to the Tip Notice Class as a whole. Prosecution of

   separate actions by individual members of the Tip Notice Class would create the risk of

   inconsistent or varying adjudications with respect to the individual members of the Tip Notice

   Class that would establish incompatible standards of conduct for Defendant.

          111.    Without a class action, Defendant will likely continue to retain the benefit of its

   wrongdoing and will continue a course of conduct that will result in further damages to Plaintiff

   and the Tip Notice Class.

          112.    Plaintiff and the Tip Notice Class members performed the same job duties, as

   servers, and were paid in an identical manner by Defendant based on Defendant’s failure to provide

   Plaintiff and the Tip Notice Class members the appropriate tip credit notice when Defendant

   claimed a tip credit.




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             113.   Plaintiff and the Tip Notice Class members were not paid proper Florida minimum

   wage during the relevant time period.

             114.   Defendant were aware of the requirements of the FMWA, and the pertinent

   regulations thereto, yet acted willfully in failing to pay Plaintiff and the Tip Notice Class members

   in accordance with the law.

             115.   The precise size and identity of the class should be ascertainable from the business

   records, tax records, and/or employee or personnel records of Defendant; however, Plaintiff

   estimate that the total number of putative Tip Notice Class members exceeds 50 servers.

             116.   This action is intended to include each and every server who worked at Defendant’s

   restaurant at 12075 S.W. 152nd St., Miami, FL 33177, during the past five (5) years who was not

   provided the requisite tip credit notice during any workweek.

             117.   During all material times hereto, Plaintiff and all Tip Notice Class members were

   non-exempt servers and employees of Defendant.

             118.   Plaintiff and the Tip Notice Class members performed work as servers which was

   an integral part of Defendant’s business.

             119.   Defendant violated the FMWA and Florida Constitution’s provision on minimum

   wages by not providing Plaintiff and the putative Tip Notice Class members the requisite tip credit

   notice.

             120.   The additional persons who may become Plaintiffs in this action are employees

   with positions similarly situated to Plaintiff and who suffered from the same pay practices.

             121.   A class action suit, such as this one, is superior to other available means for fair and

   efficient adjudication of the lawsuit. The damages suffered by individual members of the class




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   may be relatively small when compared to the expense and burden of litigation, making it virtually

   impossible for members of the class to individually seek redress for the wrongs done to them.

          122.    A class action is, therefore, superior to other available methods for the fair and

   efficient adjudication of the controversy. Absent these actions, many members of the class likely

   will not obtain redress of their damages and Defendant will retain the proceeds of their violations

   of the FMWA and Florida Constitution.

          123.    Furthermore, even if every member of the class could afford individual litigation

   against Defendant, it would be unduly burdensome to the judicial system. Concentrating the

   litigation in one forum will promote judicial economy, efficiency, and parity among the claims of

   individual members of the class and provide for judicial consistency.

          124.    The relief sought is common to the entire class including, inter alia: (a) Payment by

   Defendant of actual damages caused by its failure to pay minimum wages pursuant to the Florida

   Constitution and/or F.S. § 448.110; and (b) Payment by Defendant of liquidated damages caused

   by its failure to pay minimum wages pursuant to the Florida Constitution and/or F.S. § 448.110 as

   a result of Defendant’s intentional and/or willful violations.

          WHEREFORE, Plaintiff, JONATHAN CONDE, respectfully request that this Honorable

   Court enter judgment in their favor and against Defendant, and award Plaintiff, and the Putative

   Class: (a) unliquidated Florida minimum wage damages to be paid by Defendant; (b) the tip credit

   unlawfully claimed by Defendant, to be paid by Defendant; (c) liquidated damages to be paid by

   Defendant; (d) all reasonable attorney’s fees and costs permitted under Fla. Stat. § 448.110 to be

   paid by Defendant, and any and all such further relief as this Court may deem just and reasonable

   under the circumstances.




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      COUNT II – COLLECTIVE ACTION FOR FEDERAL MINIMUM WAGE VIOLATIONS
                                    (TIP NOTICE COLLECTIVE)

          125.     Plaintiff hereby re-alleges and re-avers Paragraphs 1 through 88 as though set forth

   fully herein.

          126.     Plaintiff and all other servers were entitled to be paid full federal minimum wage

   in one or more workweeks for certain hours worked during their employment with Defendant.

          127.     Defendant attempted to rely on the FLSA’s tip credit but failed to provide Plaintiff

   and all other servers with requisite notice of the tip credit required under federal law.

          128.     Plaintiff and the Putative Collective of servers are therefore entitled to receive full

   federal minimum wage at the rate of $7.25 per hour for every hour of work within the previous

   three (3) years.

          129.     Pursuant to 29 U.S.C. § 216(b), Plaintiff seeks to recover federal minimum wages

   for himself and the following similarly situated Tip Notice Collective:

                   All servers who worked for Defendant at Crab Du Jour in
                   Miami, Florida, during the three (3) years preceding this lawsuit
                   who did not receive proper notice from Defendant that they
                   would be taking a tip credit toward the required federal
                   minimum wage.

          130.     Defendant knew Plaintiff performed work but willfully failed to pay Plaintiff full

   federal minimum wages, contrary to the FLSA.

          131.     As a direct and proximate result of Defendant’s deliberate underpayment of wages,

   Plaintiff has been damaged in the loss of federal minimum wages for one or more weeks of work

   during their employment with Defendant.

          132.     Defendant’s willful and/or intentional violations of law entitle Plaintiff to an

   additional amount of liquidated, or double, damages.



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           WHEREFORE, Plaintiff, JONATHAN CONDE, respectfully requests that this Honorable

   Court enter judgment in their favor and against Defendant, and award Plaintiff, and the putative

   collective: (a) unliquidated federal minimum wage damages to be paid by Defendant; (b) the tip

   credit unlawfully claimed by Defendant; (c) liquidated damages to be paid by Defendant; (d) all

   reasonable attorney’s fees and litigation costs permitted under the FLSA to be paid by Defendant;

   and any and all such further relief as this Court deems just and reasonable under the circumstances.

                        COUNT III – FED. R. CIV. P. 23 CLASS ACTION
                        FOR FLORIDA MINIMUM WAGE VIOLATIONS
                                       (80/20 CLASS)

           133.   Plaintiff hereby re-avers Paragraphs 1 through 88 as though set forth fully herein.

           134.   Defendant claimed a tip credit under Florida law for each hour of work performed

   by Plaintiff and all other servers during the previous five (5) years.

           135.   However, Defendants instructed and required Plaintiff and the 80/20 Class

   Members to perform non-tipped duties and side-work amounting to at least of 20% of the total

   work they each performed in a single workweek.

           136.   Plaintiff and all other similarly situated servers are/were therefore entitled to be

   paid Florida’s full minimum wage during their employment with Defendant.

           137.   Plaintiff and the proposed Class Members were subjected to similar violations of

   Florida law as a result of Defendant’s failure to pay them the full state minimum wage when they

   were required to spend more than 20% of their workweek performing non-tipped duties and side

   work.

           138.   Plaintiff seeks recovery of Florida minimum wages under Fed. R. Civ. P. 23 for

   himself and the following class for Defendant’s failure to pay constitutionally mandated state

   minimum wages:




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                    All servers who worked for Defendant at Crab Du Jour in
                    Miami, Florida, during the five (5) years preceding this lawsuit
                    who were required to spend more than 20% of any workweek
                    performing non-tipped duties and side work and did not receive
                    the full applicable Florida minimum wage.

                                  RULE 23 CLASS ALLEGATIONS

          139.      Plaintiff brings their FMWA claims as a class action pursuant to Rule 23 of the

   Federal Rules of Civil Procedure on behalf of the above class.

          140.      The putative 80/20 Class members are treated equally and similarly by Defendant,

   in that they were denied Florida minimum wages based upon the Defendant requiring Plaintiff and

   similarly situated servers to spend more than 20% of their workweek performing non-tipped duties

   and side work.

          141.      Numerosity: Defendant employed at least 40 servers at their restaurant located at

   its restaurant at 3201 N. Miami Ave., Unit 106, Miami, FL 33127, during the past five (5) years

   who were required to spend at least 20% of their workweek performing non-tipped duties and side

   work and were not paid the pertinent Florida minimum wage. Given Defendant’s size and the

   systematic nature of their failure to comply with Florida law, the members of the Class are so

   numerous that joinder of all members is impractical.

          142.      Plaintiff and the 80/20 Class members were victims of the same policies, including

   Defendant’s requirement that employees spend at least 20% of each workweek performing non-

   tipped duties and side work.

          143.      Commonality: Common questions of law and fact exist as to all members of the

   Class and predominate over any questions solely affecting any individual member of the Class,

   including Plaintiff. Such questions common to the Class include, but are not limited to the

   following: (a) Whether Plaintiff and the 80/20 Class members were “employees” of Defendant;




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   (b) Whether Plaintiff and the 80/20 Class’s hours were properly recorded; (c) Whether Defendant

   violated the Florida minimum wage rights of Plaintiff and the 80/20 Class under the FMWA and

   Florida Constitution by failing to compensate the putative class the full state minimum wage when

   they spent more than 20% of their workweek performing non-tipped duties and side work; (d)

   Whether Defendant willfully or intentionally refused to pay Plaintiff and the 80/20 Class Florida

   minimum wages; (e) Whether Defendant knew or should have known of the Florida minimum

   wage requirements and either intentionally avoided or recklessly failed to investigate proper

   payroll and time keeping practices; and (f) The nature, extent, and measure of damages suffered

   by the Plaintiff and the 80/20 Class.

          144.    Typicality: Plaintiff’ claims are typical of the claims of the members of the 80/20

   Class. Plaintiff’ claims arise from Defendant’s company-wide policy of claiming a tip credit for

   all servers and requiring them spend more than 20% of their workweek on non-tipped duties and

   side work.

          145.    Adequacy: Plaintiff will fairly and adequately protect the interests of the 80/20

   Class. Plaintiff has no interest that might conflict with the interests of the 80/20 Class. Plaintiff

   are determined to pursue their claims against Defendant vigorously and have retained counsel

   competent and experienced in class and employment litigation.

          146.    Class action treatment is superior to the alternatives for the fair and efficient

   adjudication of the controversy alleged herein. Such treatment will permit a large number of

   similarly situated persons to prosecute their common claims in a single forum simultaneously,

   efficiently, and without the duplication of effort and expense that numerous individual actions

   would entail. No difficulties are likely to be encountered in the management of this class action




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   that would preclude its maintenance as a class action, and no superior alternative exists for the fair

   and efficient adjudication of this controversy.

           147.    Defendant acted on grounds generally applicable to the 80/20 Class, thereby

   making relief appropriate with respect to the 80/20 Class as a whole. Prosecution of separate

   actions by individual members of the 80/20 Class would create the risk of varying adjudications

   with respect to the individual members of the 80/20 Class that would establish incompatible

   standards of conduct for Defendant.

           148.    The identity of the 80/20 Class is readily identifiable from Defendant’s records.

           149.    Without a class action, Defendant will likely continue to retain the benefit of their

   wrongdoing and will continue a course of conduct that will result in further damages to Plaintiff

   and the 80/20 Class.

           150.    Plaintiff and the 80/20 Class members performed the same job duties, as restaurant

   servers, and were paid in an identical manner by Defendant based on Defendant requiring

   restaurant servers to spend more than 20% of shifts and workweeks on non-tipped duties and side

   work without paying the restaurant servers at least the full applicable Florida minimum wage.

           151.    Plaintiff and the 80/20 Class members were not paid proper Florida minimum

   wages when their non-tipped duties and side work exceeded 20% of any workweek within the

   statute of limitations.

           152.    Defendant were aware of the requirements of the FMWA, and the pertinent

   regulations thereto, yet acted willfully in failing to pay Plaintiff and the 80/20 Class members in

   accordance with the law.

           153.    This action is intended to include each and every restaurant server who worked for

   Defendant’s restaurant at 3201 N. Miami Ave., Unit 106, Miami, FL 33127, during the past five




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   (5) years who was required to spend more than 20% of their workweek performing non-tipped

   duties and side work.

           154.    During all material times hereto, Plaintiff and all 80/20 Class members are/were

   non-exempt employees of Defendant.

           155.    Restaurant servers’ work for Defendant is an integral part of Defendant’s business.

           156.    Defendant violated the terms of the FMWA and Florida Constitution’s provision

   on minimum wages by not paying Plaintiff and the putative class members at least Florida’s

   minimum wage for all hours worked.

           157.    In 2017, the Florida Minimum Wage was $8.10 per hour.

           158.    In 2018, the Florida minimum wage was $8.25 per hour.

           159.    In 2019, the Florida minimum wage was $8.46 per hour.

           160.    In 2020, the Florida minimum wage was $8.56 per hour.

           161.    From January 1, 2021, until September 29, 2021, the Florida minimum wage was

   $8.65 per hour.

           162.    From September 30, 2021, through the September 29, 2022, the Florida Minimum

   Wage was $10.00 per hour.

           163.    From September 30, 2023, through the present, the Florida Minimum Wage is/was

   $11.00 per hour.

           164.    During all times material hereto, Plaintiff and one or more of the 80/20 Class

   members complained about the illegal practices above; however, Defendant took no action to

   rectify any of their violations.




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          165.    Plaintiff has complied with pre-suit notice, and all other conditions precedent to

   this action have been performed, or waived, by sending Defendant a Florida minimum wage

   demand before this claim was filed.

          166.    More than fifteen (15) calendar days have passed since Defendant received the

   Florida minimum wage demand letter and no payment has been tendered by Defendant to

   compensate Plaintiff and the putative 80/20 Class for the minimum wages owed.

          167.    A class action is superior to other available methods for the fair and efficient

   adjudication of the controversy. Absent these actions, many members of the class likely will not

   obtain redress of their damages and Defendant will retain the proceeds of their violations of the

   FMWA and Florida Constitution.

          168.    Furthermore, even if every member of the 80/20 Class could afford individual

   litigation against Defendant, it would be unduly burdensome to the judicial system. Concentrating

   the litigation in one forum will promote judicial economy, efficiency, and parity among the claims

   of individual members of the class and provide for judicial consistency.

          169.    The relief Plaintiff seeks is common to the entire class including, inter alia: (a)

   Payment by the Defendant of actual damages caused by their failure to pay minimum wages

   pursuant to the Florida Minimum Wage Act and Florida Constitution; (b) Payment by the

   Defendant of liquidated damages caused by their intentional and/or willful failure to pay minimum

   wages pursuant to the Florida Minimum Wage Act and Florida Constitution; (c) Payment by the

   Defendant of the costs and expenses of this action, including attorney’s fees of Plaintiff’ counsel.

          170.    As a direct and proximate result of Defendant’s deliberate underpayment of wages,

   Plaintiff and the 80/20 Class members have been damaged in the loss of Florida minimum wages

   for one or more weeks of work during their employment with Defendant.




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          WHEREFORE, Plaintiff, JONATHAN CONDE, respectfully request that this Honorable

   Court enter judgment in their favor and against Defendant, CDJ OF 152ND ST MIAMI LLC

   D/B/A CRAB DU JOUR and all others similarly situated: (a) unliquidated Florida minimum wages

   payable by Defendant; (b) the tip credit unlawfully taken by Defendant; (c) an equal amount of

   liquidated damages, payable by Defendant; (d) all reasonable attorney’s fees and litigation costs

   permitted by the Florida Constitution and Fla. Stat. § 448.110 to be paid by Defendant; and any

   and all such further relief as the Court deems just and reasonable under the circumstances.

      COUNT IV - COLLECTIVE ACTION FOR FEDERAL MINIMUM WAGE VIOLATIONS
                                        (80/20 COLLECTIVE)

          171.    Plaintiff hereby re-avers Paragraphs 1 through 88 as though set forth fully herein.

          172.    Plaintiff and all other similarly situated servers are/were entitled to be paid full

   federal minimum wage for certain hours worked during their employment with Defendant.

          173.    Defendant claimed a tip credit for each hour of work for Plaintiff and all other

   servers during all times material hereto.

          174.    However, Defendant directed and required Plaintiff and 80/20 Collective Members

   to perform non-tipped duties and side-work amounting to at least 20% of the total work they each

   performed in a single workweek.

          175.    Plaintiff and the Proposed Collective Members were subjected to similar violations

   of federal law as a result of the Defendant claiming a tip credit and requiring all servers to spend

   more than 20% of their workweek performing non-tipped duties and side work.

          176.    Pursuant to 29 U.S.C. § 216(b), Plaintiff seeks to recover of federal minimum

   wages for himself and the following similarly situated 80/20 Collective:




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                   All servers who worked for Defendant at Crab Du Jour in
                   Miami, Florida during the three (3) years preceding this lawsuit,
                   who were required to spend more than 20% of their shifts
                   performing “non-tipped” incidental duties and did not receive
                   the full applicable federal minimum wage.

          177.     Defendant willfully failed to pay Plaintiff and the putative Collective Members the

   full federal minimum wage for one or more weeks of work.

          178.     As a direct and proximate result of Defendant’s deliberate underpayment of wages,

   Plaintiff and the Collective Members have been damaged in the loss of federal minimum wages

   for one or more weeks of work during their employment with Defendant.

          179.     Defendant’s willful and/or intentional violations of entitle Plaintiff and the putative

   Collective Members to an additional amount of liquidated, or double, damages.

          WHEREFORE, Plaintiff, JONATHAN CONDE, respectfully requests that this Honorable

   Court enter judgment in their favor and against Defendant CDJ OF 152ND ST MIAMI LLC D/B/A

   CRAB DU JOUR and award Plaintiff, and all others similarly situated: (a) unliquidated federal

   minimum wages payable by Defendant; (b) the tip credit unlawfully taken by Defendant; (c) an

   equal amount of liquidated damages payable by Defendant; (d) all reasonable attorney’s fees and

   litigation costs permitted under the FLSA payable by Defendant; and any and all such further relief

   as the Court deems just and reasonable under the circumstances.

                          COUNT V – FED. R. CIV. P. 23 CLASS ACTION
                         FOR FLORIDA MINIMUM WAGE VIOLATIONS
                             (SUBSTANTIAL SIDE WORK CLASS)

          180.     Plaintiff hereby re-alleges and re-avers Paragraphs 1 through 88 as though set forth

   fully herein.

          181.     Defendant claimed a tip credit for each hour of work performed by Plaintiff and all

   other servers during all times material hereto.




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          182.    However, Defendant directed and required Plaintiff and Substantial Side Work

   Class Members to perform a substantial amount of non-tipped duties and side-work amounting to

   at least thirty (30) continuous minutes, up to several hours, during at least one of their respective

   assigned shifts in their individual employment periods.

          183.    Plaintiff and all other similarly situated servers are/were entitled to be paid full

   Florida minimum wage for each hour worked during their employment with Defendant.

          184.    Plaintiff seeks recovery of Florida minimum wages under Fed. R. Civ. P. 23 for

   himself and the following Substantial Side Work Class because of Defendant’s failure to pay

   constitutionally mandated minimum wages:

                  All servers who worked for Defendant on or after December 28,
                  2021, who were required to spend more than thirty (30)
                  continuous minutes on non-tipped duties and side work during
                  any shift.

          185.    Pursuant to state and federal law, any side work consisting of more than thirty (30)

   continuous minutes is considered “substantial” side work and is not considered to be part of the

   tipped occupation.

          186.    Although side work consisting of more than thirty (30) continuous minutes must be

   paid at the full state minimum wage, Defendant impermissibly claimed a tip credit for all work

   performed by servers (except for work performed during training periods).

          187.    Defendant refused to compensate Plaintiff and all other servers the full Florida

   minimum wage, including during shifts when they were required to spend more than thirty (30)

   continuous minutes on non-tipped duties and side work.

          188.    Defendant required Plaintiff and all other servers to arrive to opening shifts at least

   30-minutes to 1-hour before Defendant’s restaurant opened to the public. During this time,




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   Defendant unlawfully claimed a tip credit of approximately $3.02 per hour and paid Plaintiff and

   all other servers less than the applicable state minimum wage.

          189.    Moreover, Defendant required Plaintiff all other servers to spend a minimum of 30-

   minutes to 1-hour during each closing shift on side work and non-tipped duties, including when

   the restaurant’s kitchen was closed and when tipped employees could not earn tips. During this

   time, Defendant claimed a tip credit of approximately $3.02 per hour and paid Plaintiff and all

   other servers less than the applicable state minimum wage.

          190.    Because Plaintiff and all other similarly situated employees were forced to spend

   more than thirty (30) continuous minutes each shift on side work and non-tipped duties, Defendant

   are not permitted to take the applicable tip credit for this work and committed categorical Florida

   minimum wage violations since these regulations went into effect on December 28, 2021.

                                 RULE 23 CLASS ALLEGATIONS

          191.    Plaintiff brings this FMWA claim as a class action pursuant to Rule 23 of the

   Federal Rules of Civil Procedure on behalf of all restaurant servers who worked for Defendant at

   its restaurant at 3201 N. Miami Ave., Unit 106, Miami, FL 33127, since December 28, 2021, who

   were required to spend more than thirty (30) continuous minutes on non-tipped duties and side

   work during any shift.

          192.    The putative Substantial Side Work Class members are treated equally and

   similarly by Defendant, in that they were denied full and proper Florida minimum wages based

   upon the Defendant’s class-wide requirement for servers to spend more than thirty (30) continuous

   minutes on non-tipped duties and side work during each shift.

          193.    Numerosity: Defendant employed at least 40 restaurant servers at its restaurant at

   12075 SW 152nd Street, Miami, Florida, 33177 since December 28, 2021 who were not paid




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   Florida minimum wages as a result of Defendant’s requirement that these employees spend more

   than thirty (30) continuous minutes during each shift on non-tipped duties and side work. Given

   Defendant’s size and the systematic nature of their failure to comply with Florida law, the members

   of the Class are so numerous that joinder of all members is impractical.

          194.    Plaintiff and the Substantial Side Work Class members were victim to the same

   employment policies, including Defendant’s requirement for these employees to spend more than

   thirty (30) continuous minutes during each shift on non-tipped duties and side work.

          195.    Commonality: Common questions of law and fact exist as to all members of the

   Substantial Side Work Class and predominate over any questions solely affecting any individual

   member of the Substantial Side Work Class, including Plaintiff. Such questions common to the

   Substantial Side Work Class include, but are not limited to, the following: (a) Whether Plaintiff

   and the Substantial Side Work Class were “employees” of Defendant; (b) Whether Plaintiff and

   the Substantial Side Work Class’s hours were properly recorded; (c) Whether Defendant violated

   the Florida minimum wage rights of Plaintiff and the Substantial Side Work Class under the

   Florida Minimum Wage Act and Florida Constitution by requiring servers to spend more than

   thirty (30) continuous minutes on non-tipped duties on side work; (d) Whether Defendant willfully

   or intentionally refused to pay Plaintiff and the Substantial Side Work Class Florida minimum

   wages; (e) Whether Defendant knew or should have known of the Florida minimum wage

   requirements and either intentionally avoided or recklessly failed to investigate proper time-

   keeping and payroll practices; and (f) The nature, extent, and measure of damages suffered by the

   Plaintiff and the Substantial Side Work Class based upon Defendant’s conduct.

          196.    Typicality: Plaintiff’ claims are typical of the claims of the members of the

   Substantial Side Work Class.      Plaintiff’ claims arise from the Defendant’s company-wide




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   requirement for servers to spend more than thirty (30) continuous minutes on non-tipped duties

   and side work each shift.

          197.    Adequacy: Plaintiff will fairly and adequately protect the interests of the Substantial

   Side Work Class. Plaintiff has no interest that might conflict with the interests of the Substantial

   Side Work Class. Plaintiff are interested in pursuing their claims against Defendant vigorously

   and have retained counsel competent and experienced in class and employment litigation.

          198.    Class action treatment is superior to the alternatives for the fair and efficient

   adjudication of the controversy alleged herein. Such treatment will permit a large number of

   similarly situated persons to prosecute their common claims in a single forum simultaneously,

   efficiently, and without the duplication of effort and expense that numerous individual actions

   would entail. No difficulties are likely to be encountered in the management of this class action

   that would preclude its maintenance as a class action, and no superior alternative exists for the fair

   and efficient adjudication of this controversy.

          199.    Defendant have acted on grounds generally applicable to the Substantial Side Work

   Class, thereby making relief appropriate with respect to the Substantial Side Work Class as a

   whole. Prosecution of separate actions by individual members of the Substantial Side Work Class

   would create the risk of inconsistent or varying adjudications with respect to the individual

   members of the Substantial Side Work Class that would establish incompatible standards of

   conduct for Defendant.

          200.    Without a class action, Defendant will likely continue to retain the benefit of their

   wrongdoing and will continue a course of conduct that will result in further damages to Plaintiff

   and the Substantial Side Work Class.




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          201.    Plaintiff and the Substantial Side Work Class members performed the same job

   duties, as restaurant servers, and were scheduled to work and paid in an identical manner by

   Defendant. Defendant requires all servers to spend substantial time on non-tipped duties and side

   work during each shift, up to several hours, during opening and closing shifts when Defendant’s

   restaurant is not open to the public. This caused state minimum wage violations during various

   workweeks after December 28, 2021.

          202.    Defendant were aware of the requirements of the FMWA and Florida Constitution’s

   Minimum Wage Amendment, and the pertinent regulations thereto, yet acted willfully in failing

   to pay Plaintiff and the Substantial Side Work Class members in accordance with the law.

          203.    The precise size and identity of the class should be ascertainable from the business

   records, tax records, and/or employee or personnel records of Defendant; however, Plaintiff

   estimate that the total number of putative Substantial Side Work Class members exceeds 40

   restaurant servers.

          204.    This action is intended to include each and every restaurant server who worked for

   Defendant’s restaurant at 12075 SW 152nd Street Miami, Florida 33177, since December 28, 2021

   who was required to spend more than thirty (30) continuous minutes on non-tipped duties and side

   work during any shift.

          205.    During all material times hereto, Plaintiff and all Substantial Side Work Class

   members were non-exempt server employees of Defendant.

          206.    Plaintiff and the Substantial Side Work Class members performed work as

   restaurant servers which was integral to Defendant’s business operations.




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          207.    Defendant violated the FMWA and Florida Constitution’s provision on minimum

   wages by not paying Plaintiff and the putative Substantial Side Work Class members at least

   Florida’s minimum wage for some hours worked.

          208.    From September 30, 2021, through the September 29, 2022, the Florida Minimum

   Wage was $10.00 per hour.

          209.    From September 30, 2022, through the present, the Florida Minimum Wage is/was

   $11.00 per hour.

          210.    The additional persons who may become Plaintiff in this action are servers who

   were required to spend more than thirty (30) continuous minutes on non-tipped duties and side

   work during any shift after December 28, 2021.

          211.    Plaintiff has complied with pre-suit notice, and all other conditions precedent to

   this action have been performed, or waived, by sending Defendant a Florida minimum wage

   demand letter before this claim was filed.

          212.    More than fifteen (15) calendar days have passed since Defendant received the

   Florida minimum wage demand letter and no payment has been tendered by Defendant to

   compensate Plaintiff and the putative Substantial Side Work Class their Florida minimum wages.

          213.    The relief sought is common to the entire class including, inter alia: (a) Payment by

   the Defendant of actual damages caused by their failure to pay Florida minimum wages pursuant

   to the Florida Constitution and Florida Minimum Wage Act; (b) Payment by the Defendant of

   liquidated damages caused by their failure to pay Florida minimum wages pursuant to the Florida

   Constitution and Florida Minimum Wage Act as a result of Defendant’s intentional and/or willful

   violations; (c) Payment by the Defendant of the costs and expenses of this action, including

   attorney’s fees of Plaintiff’ counsel.




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             214.   As a direct and proximate result of Defendant’s deliberate underpayment of wages,

   Plaintiff and the Substantial Side Work Class members have been damaged in the loss of Florida

   minimum wages for one or more weeks of work after December 28, 2021.

             215.   Defendant’s willful and/or intentional violations state law entitle Plaintiff and the

   putative Substantial Side Work Class members to an additional amount of liquidated, or double,

   damages.

             WHEREFORE, Plaintiff, JONATHAN CONDE, respectfully request that this Honorable

   Court enter judgment in their favor and against Defendant and award Plaintiff, and all others

   similarly situated: (a) unliquidated Florida minimum wages payable by Defendant; (b) the tip

   credit unlawfully taken by Defendant; (c) an equal amount of liquidated damages, payable by

   Defendant; (d) all reasonable attorney’s fees and litigation costs permitted by the Florida

   Constitution and Fla. Stat. § 448.110 payable by Defendant; and any and all such further relief as

   the Court deems just and reasonable under the circumstances.

      COUNT VI – COLLECTIVE ACTION FOR FEDERAL MINIMUM WAGE VIOLATIONS
                            (SUBSTANTIAL SIDE WORK COLLECTIVE)

             216.   Plaintiff re-alleges and re-avers Paragraphs 1 through 88 as though fully set forth

   herein.

             217.   Defendant claimed a tip credit under federal law for each hour of work performed

   by Plaintiff and all other servers during the relevant time period.

             218.   Plaintiff and all other similarly situated servers are/were entitled to be paid full

   federal minimum wage for all hours worked during their employment with Defendant.

             219.   Pursuant to 29 U.S.C. § 216(b), Plaintiff seeks to recover federal minimum wages

   for himself and the following similarly situated Substantial Side Work Collective:




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                    All servers who worked for Defendant at Crab Du Jour in
                    Miami, Florida, on or after December 28, 2021, who were
                    required to spend more than thirty (30) continuous minutes on
                    non-tipped duties and side work during any shift.


          220.      Defendant violated the FLSA because they required servers to spend more than

   thirty (30) continuous minutes on non-tipped duties and side work.

          221.      Defendant required Plaintiff and all other servers to spend substantial time working

   on tip supporting work, side work and non-tipped duties and claimed a tip credit for this work

   (instead of paying these employees the full applicable federal minimum wage).

          222.      Because Plaintiff and all other similarly situated servers were forced to spend more

   than thirty (30) continuous minutes on tip supporting work, non-tipped duties and side work,

   Defendant are not permitted to take the applicable tip credit under federal law.

          223.      As a direct and proximate result of Defendant’s deliberate underpayment of wages,

   Plaintiff and the Collective Members have been damaged in the loss of federal minimum wages

   for one or more weeks of work.

          224.      Defendant’s willful and/or intentional violations of the FLSA entitle Plaintiff and

   the putative Collective Members to an additional amount of liquidated, or double, damages.

          WHEREFORE, Plaintiff, JONATHAN CONDE, respectfully requests that this Honorable

   Court enter judgment in their favor and against Defendant, CDJ OF 152ND ST MIAMI LLC

   D/B/A CRAB DU JOUR: (a) unliquidated federal minimum wages payable by Defendant; (b) the

   tip credit unlawfully taken by Defendant; (c) an equal amount of liquidated damages payable by

   Defendant; (d) all reasonable attorney’s fees and litigation costs permitted under the FLSA payable

   by Defendant; and any and all such further relief as the Court deems just and reasonable under the

   circumstances.




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    COUNT VII – FED. R. CIV. P. 23 CLASS ACTION FOR FLORIDA MINIMUM WAGE
                                     VIOLATIONS
                          (UNLAWFUL TIP SHARE CLASS)

          225.     Plaintiff hereby re-alleges and re-avers Paragraphs 1 through 88 as though set forth

   fully herein.

          226.     Plaintiff has fulfilled all conditions precedent required to bring this action under the

   Florida Minimum Wage Act and Florida Constitution.

          227.     Plaintiff and other similarly situated workers customarily received tips as part of

   their compensation.

          228.     The Florida tip credit requirements are modeled after the FLSA.

          229.     Under the FLSA, pursuant to 29 U.S.C. 203(m)(2)(B), “an employer may not keep

   tips received by its employees for any purposes, including allowing managers or supervisors to

   keep any portion of employees’ tips, regardless of whether or not the employer takes a tip credit.”1

          230.     During all times material hereto, Defendant enforced a restaurant-wide policy

   pursuant to which, Plaintiff and all other servers were required to surrender a portion of their tips

   to the Defendant through its agents and/or management personnel.

          231.     Defendants have enforced this policy for the previous five (5) years.

          232.     Plaintiff and the Tip Share Class Members are entitled to recover the tip credit for

   the previous five (5) years and the sum of all tips that they were required to surrender to

   supervisors, managers, owners, and/or other non-customarily tipped employees from March 23,

   2018, through the present.




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            233.   Defendants therefore forfeit any tip credit under Florida law and owe each Tip

   Share Class Member at least $3.02 for each hour of work they performed within the past 5 years

   in time periods in which Defendants failed to comply with the reduced wage requirements.

            234.   In 2017, the Florida Minimum Wage was $8.10 per hour.

            235.   In 2018, the Florida Minimum Wage was $8.25 per hour.

            236.   In 2019, the Florida Minimum Wage was $8.46 per hour.

            237.   In 2020, the Florida Minimum Wage was $8.56 per hour.

            238.   From January 1, 2021, through September 29, 2021, the Florida Minimum Wage

   was $8.65 per hour.

            239.   From September 30, 2021, through the present the Florida Minimum Wage has

   been $10.00 per hour.

            240.   Plaintiff and the proposed Tip Share Class members were subject to similar

   violations of the FMWA and Florida Constitution. Plaintiff seeks class certification under Fed. R.

   Civ. P. 23 of the following class for Defendants’ failure to pay Florida’s mandated minimum

   wages:

                   Unlawful Tip Share Class: All servers who worked for
                   Defendant at Crab Du Jour during the five (5) years preceding
                   this lawsuit, who were required to share their tips with the
                   restaurant and/or ineligible employees, including but not
                   limited to supervisors and/or managers.

                                     RULE 23 CLASS ALLEGATIONS

            241.   Plaintiff brings this FMWA claim as a class action pursuant to Rule 23 of the

   Federal Rules of Civil Procedure on behalf of the above class (the “Tip Share Class”).

            242.   The putative Tip Share Class members are treated equally and similarly by

   Defendant, in that they were denied full and proper Florida minimum wage based upon the




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   Defendant’s companywide policy of permitting supervisors, managers, owners, and/or other non-

   customarily tipped employees to pilfer tips, thereby invalidating Defendant’s ability to claim a tip

   credit.

             243.   Numerosity: Defendant employed in excess of 40 servers in the class during the

   past five (5) years who were paid the applicable reduced wage when Defendant permitted

   supervisors, managers, owners, and/or other non-customarily tipped employees to pilfer tips.

   Given Defendant’s considerable size and the systematic nature of its failure to comply with Florida

   law, the members of the Class are so numerous that joinder of all members is impractical.

             244.   Plaintiff and the class members were subject to the same policies.

             245.   Commonality: Common questions of law and fact exist as to all members of the

   Class and predominate over any questions solely affecting any individual member of the Class,

   including Plaintiff. Such questions common to the Class include, but are not limited to the

   following:

             (a)    Whether Plaintiff and the Tip Share Class were “employees” of Defendant;

             (b)    Whether Plaintiff and the Tip Share Class’ hours were properly recorded;

             (c)    Whether Defendants violated the Florida minimum wage rights of Plaintiff and the

   Tip Share Class under the FMWA by permitting supervisors, managers, owners, and/or other non-

   customarily tipped employees to receive a portion of workers’ tips;

             (d)    Whether Defendant willfully or intentionally refused to pay Plaintiff and the Tip

   Share Class the Florida minimum wages as required under Florida law;

             (e)    Whether Defendant knew or should have known of the Florida minimum wage

   requirements and either intentionally avoided or recklessly failed to investigate proper payroll

   practices; and




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           (f)     The nature, extent, and measure of damages suffered by the Plaintiff and the Tip

   Share Class based upon Defendant’s conduct.

           246.    Typicality: Plaintiff’s claims are typical of the Tip Share Class members’ claims.

   Plaintiff’s claims arise from the Defendant’s company-wide policy of permitting all restaurant

   workers to surrender a portion of their tips to supervisors, managers, owners, and/or other non-

   customarily tipped employees which resulted in them not receiving the applicable Florida

   minimum wage.

           247.    Adequacy: Plaintiff will fairly and adequately protect the interests of the Tip Share

   Class. Plaintiff has no interest that might conflict with the interests of the Tip Share Class. Plaintiff

   is interested in pursuing his claims against Defendant vigorously and has retained counsel

   competent and experienced in class and employment litigation.

           248.    Class action treatment is superior to the alternatives for the fair and efficient

   adjudication of the controversy alleged herein. Such treatment will permit a large number of

   similarly situated persons to prosecute their common claims in a single forum simultaneously,

   efficiently, and without the duplication of effort and expense that numerous individual actions

   would entail. No difficulties are likely to be encountered in the management of this class action

   that would preclude its maintenance as a class action, and no superior alternative exists for the fair

   and efficient adjudication of this controversy.

           249.    Defendant has acted on grounds generally applicable to the Tip Share Class, thereby

   making relief appropriate with respect to the Tip Share Class as a whole. Prosecution of separate

   actions by individual members of the Tip Share Class would create the risk of inconsistent or

   varying adjudications with respect to the individual members of the Tip Share Class that would

   establish incompatible standards of conduct for Defendant.




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          250.    Without a class action, Defendant will likely continue to retain the benefit of its

   wrongdoing and will continue a course of conduct that will result in further damages to Plaintiff

   and the Tip Share Class.

          251.    Plaintiff and the Tip Share Class members performed the same job duties, as

   restaurant workers, and were paid in an identical manner by Defendant.

          252.    Plaintiff and the Tip Share Class members were not paid proper Florida minimum

   wage for certain hours worked because they were all subject to the same tip sharing policy, which

   permitted and encouraged supervisors, managers, owners, and/or other non-customarily tipped

   employees to retain workers’ hard-earned tips.

          253.    Defendants were aware of the requirements of the FMWA, and the pertinent

   regulations thereto, yet acted willfully in failing to pay Plaintiff and the Tip Share Class members

   in accordance with the law.

          254.    The precise size and identity of the class should be ascertainable from the business

   records, tax records, and/or employee or personnel records of Defendants; however, Plaintiff

   estimates that the total number of putative Tip Share Class Members exceeds 40 servers.

          255.    This action is intended to include each and every worker who worked at the Crab

   Du Jour restaurant located in Miami, Florida during the past five (5) years who was subject to

   Defendant’s unlawful tip policies.

          256.    During all material times hereto, Plaintiff and all Tip Share Class Members were

   non-exempt employees of Defendant.

          257.    Plaintiff and the Tip Share Class Members performed work as servers which was

   an integral part of the business for Defendant.




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             258.   Defendant violated the terms of the FMWA and Florida Constitution’s provision

   on minimum wages permitting supervisors, managers, owners, and/or other non-customarily

   tipped employees and to retain tips from Plaintiff and all other servers during the relevant time

   period.

             259.   The additional persons who may become Plaintiffs in this action are employees

   with positions similarly situated to Plaintiff and who suffered from the Defendant’s unlawful tip

   policy within the previous five (5) years.

             260.   Plaintiff has complied with pre-suit notice, and all other conditions precedent to

   this action have been performed, or waived, by sending Defendant a pre-suit Florida Minimum

   Wage demand letter as required by Florida law before this claim was filed.

             261.   More than fifteen (15) calendar days have passed since Defendants received the

   Florida Minimum Wage demand letter and Defendant has failed to tender full payment to

   compensate Plaintiff and the Tip Share Class members for the Florida minimum wages they are

   owed.

             262.   The damages suffered by individual members of the class may be relatively small

   when compared to the expense and burden of litigation, making it virtually impossible for members

   of the class to individually seek redress for the wrongs done to them.

             263.   Absent class-wide redress of these claims, many members of the class likely will

   not obtain redress of their damages and Defendant will retain the proceeds of their violations of

   the FMWA and Florida Constitution.

             264.   Furthermore, even if every member of the class could afford individual litigation

   against Defendants, it would be unduly burdensome to the judicial system. Concentrating the




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   litigation in one forum will promote judicial economy, efficiency, and parity among the claims of

   individual members of the class and provide for judicial consistency.

          265.    The relief sought is common to the entire class including, inter alia:

          (a)     The difference between the reduced Florida Minimum Wage and the Full

   Florida Minimum Wage for all workers during the previous five (5) years who were

   permitted to share their tips with supervisors, owners, managers, and/or other non-

   customarily tipped employees;

          (b)     Payment by the Defendant of tips unlawfully retained from March 23, 2018,

   through the present;

          (c)     Payment by the Defendant of liquidated damages caused by their failure to

   pay minimum wages pursuant to the Florida Constitution and/or F.S. § 448.110 as a result

   of Defendant’s intentional and/or willful violations;

          (c)     Payment by the Defendant of the costs and expenses of this action, including

   reasonable attorney’s fees of Plaintiff’s counsel.

          266.    Plaintiff and the Tip Share Class members have sustained damages arising out of

   the same wrongful and company-wide employment policies of Defendants in violation of the

   FMWA and Florida Constitution.

          267.    As a result of the violations alleged herein, Plaintiff was required to retain the

   undersigned counsel and is therefore entitled to recover reasonable attorney’s fees and costs.

          WHEREFORE, Plaintiff, JONATHAN CONDE, respectfully requests that this Honorable

   Court enter judgment in their favor and against Defendant, CDJ OF 152ND ST MIAMI LLC

   D/B/A CRAB DU JOUR, and award Plaintiff, and the putative class: (a) recovery of the tip credit

   owed Plaintiff and the Tip Share Class for the previous five (5) years; (b) recovery of all tips




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   unlawfully retained from March 23, 2018, through the present; (c) liquidated damages; (d) all

   reasonable attorney’s fees and costs as permitted under Florida law, and any and all such further

   relief as this Court may deem just and reasonable under the circumstances.

    COUNT VIII – UNLAWFUL TAKING OF TIPS – 29 U.S.C. § 216(b)/29 U.S.C. § 203(m)
                         (TIP SHARE COLLECTIVE)

           268.    Plaintiff hereby re-alleges and re-avers Paragraphs 1 through 88 as though set forth

   fully herein.

           269.    Plaintiff and all other similarly situated servers customarily receive tips as part of

   their compensation during their employment with Defendant.

           270.    Pursuant to 29 U.S.C. 203(m)(2)(B), “an employer may not keep tips received by

   its employees for any purposes, including allowing managers or supervisors to keep any portion

   of employees’ tips, regardless of whether or not the employer takes a tip credit.”

           271.    During all material times hereto, Defendant enforced a company-wide policy that

   forced Plaintiff and all other servers to surrender a portion of their tips to the restaurant through its

   management personnel.

           272.    Defendant has enforced this policy for at least the previous three (3) years.

           273.    Plaintiff and similarly situated front-of-house Restaurant Workers paid at reduced

   hourly wages are entitled to recover the tip credit and the sum of all tips that they were permitted

   to share with supervisors, managers, owners, and/or other non-customarily tipped employees from

   March 23, 2018, through the present.

           274.    Defendants’ failure to comply with the FLSA was willful and/or intentional.

           275.    Defendants knew or should have known of the pertinent FLSA laws, rules and

   regulations and willfully ignored them as Defendants kept a portion of workers’ hard-earned tips

   during the course of the previous three (3) years.



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          WHEREFORE, Plaintiff, JONATHAN CONDE, respectfully requests that this Honorable

   Court enter judgment in their favor and against Defendant, CDJ OF 152ND ST MIAMI LLC

   D/B/A CRAB DU JOUR, and award Plaintiff, and the Putative Collective: (a) recovery of the tip

   credit owed Plaintiff and the Class for the previous three (3) years; (b) recovery of all tips

   unlawfully retained from March 23, 2018, through the present; (c) liquidated damages; (d) all

   reasonable attorney’s fees and litigation costs as permitted under the FLSA; and any and all such

   further relief as this Court may deems just and reasonable under the circumstances.

   COUNT IX – FED. R. CIV. P. 23 CLASS ACTION FOR FLORIDA MINIMUM WAGE VIOLATIONS
                                (UNLAWFUL KICK-BACK CLASS)

          276.     Plaintiff hereby re-alleges and re-avers Paragraphs 1 through 88 as though set forth

   fully herein.

          277.     Plaintiff has fulfilled all conditions precedent required to bring this action under the

   Florida Minimum Wage Act and Florida Constitution.

          278.     Plaintiff and other similarly situated servers customarily received tips as part of

   their compensation.

          279.     The Florida tip credit requirements are modeled after the FLSA.

          280.     Under the FLSA, pursuant to 29 U.S.C. 203(m)(2)(B), “an employer may not keep

   tips received by its employees for any purposes, including allowing managers or supervisors to

   keep any portion of employees’ tips, regardless of whether or not the employer takes a tip credit.”2

          281.     During all times material hereto, Defendant enforced a restaurant-wide policy

   pursuant to which, Plaintiff and all other servers were required to surrender a portion of their tips




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   to the Defendant through its agents and/or management personnel to cover and reimburse

   Defendant for costs associated with walk-outs, breakages, and/or cash register shortages.

            282.   Defendant has enforced this policy for the previous five (5) years.

            283.   Plaintiff and the Tip Share Class Members are entitled to recover the tip credit for

   the previous five (5) years and the sum of all tips that they were required to surrender to Defendant

   and/or its supervisors, managers, and/or owners, from March 23, 2018, through the present.

            284.   Defendant therefore forfeits any tip credit under Florida law and owe each Tip

   Share Class Member at least $3.02 for each hour of work they performed within the past 5 years

   in time periods in which Defendants failed to comply with the reduced wage requirements.

            285.   In 2017, the Florida Minimum Wage was $8.10 per hour.

            286.   In 2018, the Florida Minimum Wage was $8.25 per hour.

            287.   In 2019, the Florida Minimum Wage was $8.46 per hour.

            288.   In 2020, the Florida Minimum Wage was $8.56 per hour.

            289.   From January 1, 2021, through September 29, 2021, the Florida Minimum Wage

   was $8.65 per hour.

            290.   From September 30, 2021, through the present the Florida Minimum Wage has

   been $10.00 per hour.

            291.   Plaintiff and the proposed Tip Share Class members were subject to similar

   violations of the FMWA and Florida Constitution. Plaintiff seeks class certification under Fed. R.

   Civ. P. 23 of the following class for Defendants’ failure to pay Florida’s mandated minimum

   wages:




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                  Unlawful Kick-Back Class: All servers who worked for
                  Defendant at Crab Du Jour in Miami, Florida during the five
                  (5) years preceding this lawsuit, who were required to surrender
                  their tips to the restaurant, supervisors and/or managers to
                  cover and reimburse Defendant for costs associated with walk-
                  outs, breakages, and/or cash register shortages.

                                  RULE 23 CLASS ALLEGATIONS

          292.    Plaintiff brings this FMWA claim as a class action pursuant to Rule 23 of the

   Federal Rules of Civil Procedure on behalf of the above class (the “Unlawful Kick-Back Class”).

          293.    The putative Unlawful Kick-Back Class members are treated equally and similarly

   by Defendant, in that they were denied full and proper Florida minimum wage based upon the

   Defendant’s companywide policy of permitting Defendant and its supervisors, managers, and/or

   owners, to obtain tips to cover costs associated with walk-outs, breakages, and/or cash register

   shortages, thereby invalidating Defendant’s ability to claim a tip credit.

          294.    Numerosity: Defendant employed in excess of 40 servers in the class during the

   past five (5) years who were paid the applicable reduced wage when Defendant permitted

   supervisors, managers, and/or owners, to pilfer tips. Given Defendant’s considerable size and the

   systematic nature of its failure to comply with Florida law, the members of the Class are so

   numerous that joinder of all members is impractical.

          295.    Plaintiff and the class members were subject to the same policies.

          296.    Commonality: Common questions of law and fact exist as to all members of the

   Class and predominate over any questions solely affecting any individual member of the Class,

   including Plaintiff. Such questions common to the Class include, but are not limited to the

   following:

          (g)     Whether Plaintiff and the Unlawful Kick-Back Class were “employees” of

   Defendant;



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          (h)       Whether Plaintiff and the Unlawful Kick-Back Class’ hours were properly

   recorded;

          (i)       Whether Defendants violated the Florida minimum wage rights of Plaintiff and the

   Unlawful Kick-Back Class under the FMWA by permitting supervisors, managers, owners, and/or

   other non-customarily tipped employees to receive a portion of workers’ tips;

          (j)       Whether Defendant willfully or intentionally refused to pay Plaintiff and the

   Unlawful Kick-Back Class the Florida minimum wages as required under Florida law;

          (k)       Whether Defendant knew or should have known of the Florida minimum wage

   requirements and either intentionally avoided or recklessly failed to investigate proper payroll

   practices; and

          (l)       The nature, extent, and measure of damages suffered by the Plaintiff and the

   Unlawful Kick-Back Class based upon Defendant’s conduct.

          297.      Typicality: Plaintiff’s claims are typical of the Unlawful Kick-Back Class

   members’ claims.       Plaintiff’s claims arise from the Defendant’s company-wide policy of

   permitting all restaurant workers to surrender a portion of their tips to supervisors, managers,

   and/or owners which resulted in them not receiving the applicable Florida minimum wage.

          298.      Adequacy: Plaintiff will fairly and adequately protect the interests of the Unlawful

   Kick-Back Class. Plaintiff has no interest that might conflict with the interests of the Unlawful

   Kick-Back Class. Plaintiff is interested in pursuing his claims against Defendant vigorously and

   has retained counsel competent and experienced in class and employment litigation.

          299.      Class action treatment is superior to the alternatives for the fair and efficient

   adjudication of the controversy alleged herein. Such treatment will permit a large number of

   similarly situated persons to prosecute their common claims in a single forum simultaneously,




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   efficiently, and without the duplication of effort and expense that numerous individual actions

   would entail. No difficulties are likely to be encountered in the management of this class action

   that would preclude its maintenance as a class action, and no superior alternative exists for the fair

   and efficient adjudication of this controversy.

          300.    Defendant has acted on grounds generally applicable to the Unlawful Kick-Back

   Class, thereby making relief appropriate with respect to the Unlawful Kick-Back Class as a whole.

   Prosecution of separate actions by individual members of the Unlawful Kick-Back Class would

   create the risk of inconsistent or varying adjudications with respect to the individual members of

   the Unlawful Kick-Back Class that would establish incompatible standards of conduct for

   Defendant.

          301.    Without a class action, Defendant will likely continue to retain the benefit of its

   wrongdoing and will continue a course of conduct that will result in further damages to Plaintiff

   and the Unlawful Kick-Back Class.

          302.    Plaintiff and the Unlawful Kick-Back Class members performed the same job

   duties, as restaurant workers, and were paid in an identical manner by Defendant.

          303.    Plaintiff and the Unlawful Kick-Back Class members were not paid proper Florida

   minimum wage for certain hours worked because they were all subject to the same tip sharing

   policy, which permitted and encouraged supervisors, managers, and/or owners to retain servers’

   hard-earned tips.

          304.    Defendants were aware of the requirements of the FMWA, and the pertinent

   regulations thereto, yet acted willfully in failing to pay Plaintiff and the Unlawful Kick-Back Class

   members in accordance with the law.




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          305.    The precise size and identity of the class should be ascertainable from the business

   records, tax records, and/or employee or personnel records of Defendants; however, Plaintiff

   estimates that the total number of putative Unlawful Kick-Back Class Members exceeds 40

   servers.

          306.    This action is intended to include each and every server who worked at the Crab

   Du Jour restaurant located in Miami, Florida during the past five (5) years who was subject to

   Defendant’s unlawful tip policies.

          307.    During all material times hereto, Plaintiff and all Unlawful Kick-Back Class

   Members were non-exempt employees of Defendant.

          308.    Plaintiff and the Unlawful Kick-Back Class Members performed work as servers

   which was an integral part of the business for Defendant.

          309.    Defendant violated the terms of the FMWA and Florida Constitution’s provision

   on minimum wages permitting supervisors, managers, and/or owners to retain tips from Plaintiff

   and all other servers during the relevant time period.

          310.    The additional persons who may become Plaintiffs in this action are employees

   with positions similarly situated to Plaintiff and who suffered from the Defendant’s unlawful tip

   policy within the previous five (5) years.

          311.    Plaintiff has complied with pre-suit notice, and all other conditions precedent to

   this action have been performed, or waived, by sending Defendant a pre-suit Florida Minimum

   Wage demand letter as required by Florida law before this claim was filed.

          312.    More than fifteen (15) calendar days have passed since Defendant received the

   Florida Minimum Wage demand letter and Defendant has failed to tender full payment to




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   compensate Plaintiff and the Unlawful Kick-Back Class members for the Florida minimum wages

   they are owed.

          313.      The damages suffered by individual members of the class may be relatively small

   when compared to the expense and burden of litigation, making it virtually impossible for members

   of the class to individually seek redress for the wrongs done to them.

          314.      Absent class-wide redress of these claims, many members of the class likely will

   not obtain redress of their damages and Defendant will retain the proceeds of their violations of

   the FMWA and Florida Constitution.

          315.      Furthermore, even if every member of the class could afford individual litigation

   against Defendants, it would be unduly burdensome to the judicial system. Concentrating the

   litigation in one forum will promote judicial economy, efficiency, and parity among the claims of

   individual members of the class and provide for judicial consistency.

          316.      The relief sought is common to the entire class including, inter alia:

          (a)       The difference between the reduced Florida Minimum Wage and the Full Florida

   Minimum Wage for all workers during the previous five (5) years who were permitted to share

   their tips with supervisors, owners, managers, and/or other non-customarily tipped employees;

          (b)       Payment by the Defendant of tips unlawfully retained from March 23, 2018,

   through the present;

          (c)       Payment by the Defendant of liquidated damages caused by their failure to pay

   minimum wages pursuant to the Florida Constitution and/or F.S. § 448.110 as a result of

   Defendant’s intentional and/or willful violations;

          (d)       Payment by the Defendant of the costs and expenses of this action, including

   reasonable attorney’s fees of Plaintiff’s counsel.




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          317.     Plaintiff and the Unlawful Kick-Back Class members have sustained damages

   arising out of the same wrongful and company-wide employment policies of Defendants in

   violation of the FMWA and Florida Constitution.

          318.     As a result of the violations alleged herein, Plaintiff was required to retain the

   undersigned counsel and is therefore entitled to recover reasonable attorney’s fees and costs.

          WHEREFORE, Plaintiff, JONATHAN CONDE, respectfully requests that this Honorable

   Court enter judgment in their favor and against Defendant, CDJ OF 152ND ST MIAMI LLC

   D/B/A CRAB DU JOUR, and award Plaintiff, and the putative class: (a) recovery of the tip credit

   owed Plaintiff and the Unlawful Kick-Back Class for the previous five (5) years; (b) recovery of

   all tips unlawfully retained from March 23, 2018, through the present; (c) liquidated damages; (d)

   all reasonable attorney’s fees and costs as permitted under Florida law, and any and all such further

   relief as this Court may deem just and reasonable under the circumstances.

     COUNT X – UNLAWFUL RETALIATION IN VIOLATION OF 29 U.S.C. § 215(a)(3)

          319.     Plaintiff hereby re-alleges and re-avers Paragraphs 1 through 88 as though set forth

   fully herein.

          320.     In violation of § 203(m) of the FLSA, Defendant directed and required Plaintiff and

   all other servers to surrender a portion of their tips to the restaurant or ineligible employees,

   particularly supervisors and/or managers.

          321.     Defendant also required Plaintiff and all other servers to surrender a portion of their

   tips to cover expenses incurred by Defendant as a result of “dine-and-dash” customers (among

   other related “kickbacks” that Defendant forced Plaintiff and all other servers to provide to

   Defendant).




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          322.    In the middle of January 2023, Plaintiff first engaged in protected activity under the

   FLSA by verbally objecting to Defendant’s practice of forcing him and all other servers to

   surrender a portion of the tips that they earned throughout their shifts, in violation of 203(m)(2)(B).

          323.    Plaintiff’s verbal objection constitutes protected activity under the FLSA.

          324.    Upon notice of Plaintiff’s objections and his engagement in protected activity under

   the FLSA, Defendant responded by immediately terminating Plaintiff’s employment on January

   19, 2023.

          325.    The temporal proximity of Plaintiff’s termination to Plaintiff’s invocation of his

   FLSA rights creates a presumption that Plaintiff’s protected activity was the direct cause of his

   termination.

          326.    Any other justification given for Plaintiff’s termination is pre-textual.

          327.    Defendant’s termination of Plaintiff constitutes unlawful retaliation that is

   prohibited under the FLSA.

          328.    As a result of the unlawful, retaliatory termination, Plaintiff has suffered damages

   including lost back wages, lost front wages, emotional distress, pain and suffering, loss of

   reputation, and other damages that will be proven at trial.

          329.    As a result of the violations alleged herein, Plaintiff was required to retain the

   undersigned counsel and is therefore entitled to recover reasonable attorney’s fees and costs.

          WHEREFORE, Plaintiff, JONATHAN CONDE, demands judgment against Defendant,

   CDJ OF 152ND ST MIAMI LLC D/B/A CRAB DU JOUR, and respectfully requests that he be

   awarded the following relief: (a) back wages; (b) front wages; (c) unliquidated damages; (d)

   liquidated damages; (e) damages arising from emotional distress, pain and suffering, and loss of

   reputation; (f) immediate reinstatement or wages in lieu of reinstatement in the event that




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   reinstatement is not feasible; (g) reasonably attorney’s fees and costs; and any and all such further

   relief as may be deemed just and reasonable under the circumstances.

                                                         Respectfully Submitted,
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                                    CERTIFICATE OF SERVICE
             I HEREBY CERTIFY that the foregoing document was filed via CM/ECF on March 20
   , 2023.
                                                         By: /s/ Jordan Richards
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                                            SERVICE LIST




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